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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                            CASE NO.: 1:19-cv-23591-BLOOM/LOUIS

  HAVANA DOCKS CORPORATION,

                  Plaintiff,

  vs.

  NORWEGIAN CRUISE LINE HOLDINGS,
  LTD.,

                  Defendant.
                                                                            /

                                          AMENDED COMPLAINT

        Plaintiff Havana Docks Corporation (“Plaintiff”) hereby sues Norwegian

  Cruise Line Holdings, Ltd. (“Defendant” or “NCL”), pursuant to the Cuban Liberty

  and Democratic Solidarity Act (“LIBERTAD Act”), for trafficking in Plaintiff’s

  confiscated property located in Cuba.

                                                    INTRODUCTION

        The LIBERTAD Act was enacted to assist the Cuban people in regaining their

  freedom and prosperity, strengthen international sanctions against the communist

  Cuban Government, and to deter the exploitation of wrongfully confiscated property

  in Cuba belonging to United States nationals. Although every U.S. President has

  suspended the right to bring an action under the LIBERTAD Act since its enactment

  in 1996, the Defendant has been on notice since 1996 that trafficking in property

  confiscated by the communist Cuban Government without the authorization of the

                                                 Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  owner of a certified claim to such property would subject it to liability under the

  LIBERTAD Act. As of the date of filing this Complaint, the United States

  Government has ceased suspending the right to bring an action under the LIBERTAD

  Act, which therefore permits Plaintiff to seek damages for the Defendant’s conduct in

  exploiting Plaintiff’s wrongly confiscated property.

                                                             PARTIES

         1.         Plaintiff, Havana Docks Corporation, 215 Southland Drive, Lexington,

  Kentucky, 40503, is a Delaware corporation and a U.S. National under 22 U.S.C. §

  6023(15)(B).

         2.         Defendant is a foreign corporation maintaining its principal executive

  offices and place of business at 7655 Corporate Center Drive, Miami, Florida 33126.

  Defendant operates the Norwegian Cruise Line, Oceania Cruises, and Regent Seven

  Seas Cruise brands.

                                               JURISDICTION AND VENUE

         3.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

  (federal question jurisdiction), because Plaintiff’s claim arises under 22 U.S.C. § 6021,

  et seq., and the amount in controversy exceeds the sum or value of $50,000, exclusive

  of interest, costs, and attorneys’ fees.

         4.         Venue is proper in the Southern District of Florida under 28 U.S.C. §

  1391(b)(1), because the Defendant resides in the Southern District of Florida, and

  under 28 U.S.C. §§ 1391(b)(2) and 1391(d), because a substantial part of the events



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                                                     Colson Hicks Eidson
              255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  or omissions giving rise to Plaintiff’s claims occurred in the Southern District of

  Florida.

                    THE CUBAN LIBERTY AND DEMOCRATIC SOLIDARITY ACT

        5.         The LIBERTAD Act was enacted on March 12, 1996.                                                    One of the

  LIBERTAD Act’s purposes is to “protect United States nationals against confiscatory

  takings and the wrongful trafficking in property confiscated by the Castro Regime.”

  22 U.S.C. § 6022(6). Title III of the LIBERTAD Act (“Title III”) establishes a private

  right of action for money damages against any person who “traffics” in such property

  as defined by 22 U.S.C. § 6023(13). See 22 U.S.C. § 6082. Title III’s effective date,

  August 1, 1996, was never suspended. Liability for trafficking under Title III

  therefore attached irreversibly beginning November 1, 1996.

                                                FACTUAL ALLEGATIONS

        6.         Plaintiff, a U.S. national as defined by 22 U.S.C. § 6023(15), is the

  rightful owner of an interest in and certified claim to certain commercial waterfront

  real property in the Port of Havana, Cuba identified specifically by the Republic of

  Cuba (“Cuba”) as the Havana Cruise Port Terminal (the “Subject Property”).

        7.         Plaintiff and its predecessor in interest constructed and managed the

  Subject Property. The Subject Property was continuously, owned, possessed, used,

  and managed in Cuba by Plaintiff from 1917 until the communist Cuban Government

  confiscated it in 1960.

        8.         From 1960 to present, Plaintiff has remained active for the purpose of

  preserving its claim to the Subject Property. Plaintiff has diligently pursued its

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                                                    Colson Hicks Eidson
             255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  rights, filing this lawsuit on the first possible day after the United States Government

  ceased suspending Title III’s right to bring an action. Plaintiff could not have filed

  this lawsuit earlier than it did due to the suspension of Title III’s right to bring an

  action.

                                Cuba’s Confiscation of the Subject Property
        9.         The communist Cuban Government confiscated the Subject Property on

  October 24, 1960. The communist Cuban Government maintains possession and

  control of the Subject Property and has not paid any compensation to Plaintiff for its

  seizure.

        10.        More specifically, the communist Cuban Government nationalized,

  expropriated, and seized ownership and control of the Subject Property. The Subject

  Property has not been returned and adequate and effective compensation has not

  been provided. Further, the claim to the Subject Property has not been settled

  pursuant to an international claims settlement agreement or other settlement

  procedure.

        11.        Plaintiff never abandoned its legitimate interest in and claim to the

  Subject Property.

                                                   The Certified Claim

        12.        Plaintiff’s ownership interest in and claim to the Subject Property has

  been certified by The Foreign Claims Settlement Commission of the United States

  (“FCSC”). A copy of the FCSC’s Certified Claim (“Claim No.CU-2492”) is attached

  hereto as Exhibit A. Claim No. CU-2492, which has no time limit and has not

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                                                    Colson Hicks Eidson
             255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  expired, provides an itemized listing of the property interests certified by the FCSC,

  as follows:




           13.     After taking into account amortization, depreciation, accrued interest,

  and other adjustments, the FCSC’s final decision certified the loss at “Nine Million

  One Hundred Seventy-nine Thousand Seven Hundred Dollars and Eighty-eight

  Cents ($9,179,700.88) with interest thereon at 6% per annum from the respective

  dates of loss to the date of settlement.” (Exhibit A at 3.)

           14.     The largest portion of the loss certified in Claim No. CU-2492 consisted

  of the structures on the San Francisco, Machina, and Santa Clara Piers. (Exhibit A

  at 9.)

           15.     A concession was one of the several property interests certified. The

  concession granted the Plaintiff a term of 99 years for the use of, improvement,

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                                                    Colson Hicks Eidson
             255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  construction upon, operation and management of the Subject Property. The Plaintiff

  used, operated, managed and made significant improvements on the Subject Property

  from 1905 until 1960, when it was confiscated by the communist Cuban Government.

  The concession never expired by its term. It was confiscated by the Cuban

  Government in 1960. Thus, when the Subject Property was confiscated in 1960,

  Havana Docks still had a balance of 44 years of concessionary rights remaining; those

  44 years of concessionary rights still remain in balance, and Havana Docks has never

  been indemnified by the Cuban Government or anyone for the loss of that property

  interest. As a result, under the terms of the concession and Cuban law in force at the

  time, Havana Docks still retains, to this day, a reversionary interest of 44 years

  remaining in the Subject Property (i.e., a future or contingent possessory right).

        16.      Further, the concession granted to the Plaintiff the contractual right to

  be indemnified for the value of the work constructed by it on the Subject Property in

  the event of expropriation, as follows:

        Seventh: If during the continuance of the concession the works may be
        expropriated by virtue of Article 50 of the Law of Ports, the government
        or its departments will indemnify the concessionary to the value of the
        work constructed by it, including the Custom House Inspectors
        Department and the wharf on the north side of the pier, but not the
        value of the machinery, rolling stock, equipment and apparatus referred
        to in the preceding clause, in case the concessionary may decide to
        remove them.

  (See Exhibit B)

        17.      This indemnity right gave the Plaintiff an interest in the Subject

  Property that was not time-limited. As an express term of the concession, the

  indemnity right—which by the terms of the concession was not time limited—was
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                                                  Colson Hicks Eidson
           255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  certified by the FCSC. The “value of the work constructed by” Havana Docks and its

  predecessor-in-interest include the value of the San Francisco, Machina and Santa

  Clara Piers, as reflected in the certified claim. This claim to indemnity remains

  unpaid. The LIBERTAD Act expressly contemplates this type of property interest and

  recognizes such an unpaid debt as an obligation that attaches to the confiscated

  property, as would a mechanic’s lien: the LIBERTAD Act defines the term

  “confiscated” to include “the failure of the Cuban Government to pay, on or after

  January 1, 1959-- . . . a debt which is a charge on property nationalized, expropriated,

  or otherwise taken by the Cuban Government.” 22 U.S.C. § 6023(4)(B)(ii) (emphasis

  added); see also 22 U.S.C. § 6023(12)(A) (defining “property” to include “any property.

  . . whether real, personal, or mixed, and any present, future, or contingent right,

  security, or other interest therein, including any leasehold interest” (emphases

  added)). So too does Cuban law in effect at the time of confiscation. See e.g., Codigo

  Civil, Title II, Art. 349 (“No one shall be deprived of his property, except by competent

  authority and with sufficient cause of public utility, always after the proper

  indemnity. If this requisite has not been fulfilled the judges shall protect, and in a

  proper case, replace the condemned party in possession.”) (emphasis added).

        18.      Plaintiff has never received any compensation nor been indemnified for

  the expropriation of the Subject Property, including for the concession or any other

  property interests.

        19.      Under the LIBERTAD Act, Plaintiff’s ownership of Claim No. CU-2492

  is a property interest in the Subject Property entitling the Plaintiff to sue under Title

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                                                  Colson Hicks Eidson
           255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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  III against whomever traffics in the Subject Property. 22 U.S.C. § 6082(a)(1)(A).

        20.      The terms of Claim No. CU-2492 expressly state that the claim does not

  expire until “the date of settlement.” (ECF No. 24-1, at 4, 13.) That date has not yet

  come. The certified claim is still actionable. Claim No. CU-2492 has no time limit.

                     NCL’s Trafficking in the Confiscated Subject Property

        21.      On information and belief, beginning on or about March 2017 and

  continuing for at least two years thereafter, the Defendant knowingly and

  intentionally commenced, conducted, and promoted its commercial cruise line

  business to Cuba using the Subject Property by regularly embarking and

  disembarking its passengers on the Subject Property without the authorization of

  Plaintiff or any U.S. national who holds a claim to the Subject Property.

        22.      On information and belief, beginning on or about March 2017, the

  Defendant also knowingly and intentionally participated in and profited from the

  communist Cuban Government’s possession of the Subject Property without the

  authorization of Plaintiff or any U.S. national who holds a claim to the Subject

  Property.

        23.      Defendant has had constructive knowledge of Plaintiff’s publicly

  available certified claim to the Subject Property, Claim CU-2492, since the FCSC

  completed the Cuban Claims Program on July 6, 1972.

        24.      Defendant has had actual knowledge of Plaintiff’s certified claim to the

  Subject Property, Claim CU-2492, since at least February 11, 2019, due to a notice

  letter sent by Plaintiff to it pursuant to 22 U.S.C. § 6082(a)(3)(D).

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                                                  Colson Hicks Eidson
           255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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        25.      On information and belief, Defendant trafficked in the Subject Property

  until June 2019.

        26.      The Defendant’s knowing and intentional conduct with regard to the

  confiscated Subject Property is trafficking as defined in 22 U.S.C. § 6023(13)(A).

        27.      As a result of the Defendant’s trafficking in the Subject Property, the

  Defendant is liable to Plaintiff for all money damages allowable under 22 U.S.C.

  § 6082(a).

                                                CLAIM FOR DAMAGES

                                     TITLE III OF THE LIBERTAD ACT

        28.      Plaintiff incorporates by reference paragraphs 1 through 27 as if fully

  stated herein.

        29.      This claim is brought pursuant to Title III of the LIBERTAD Act, 22

  U.S.C. § 6082.

        30.      As set forth in Title III and alleged above, beginning on or around March

  2017 and continuing for at least two years thereafter, the Defendant did traffic, as

  that term is defined in 22 U.S.C. § 6023(13)(A), in the Subject Property which was

  confiscated by the communist Cuban Government on or after January 1, 1959 and is

  therefore liable to Plaintiff, who owns the claim to the Subject Property for money

  damages.

        31.      Plaintiff is entitled to all money damages allowable under 22 U.S.C.

  § 6082(a), including, but not limited to, those equal to the sum of:



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                                                  Colson Hicks Eidson
           255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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                 a.      The amount greater of: (i) the amount certified by the Foreign

  Claims Settlement Commission, plus interest; (ii) the amount determined by a special

  master pursuant to 22 U.S.C. § 6083(a)(2); or (iii) the “fair market value” of the

  Subject Property, plus interest;

                 b.      Three times the amount determined above (treble damages); and

                 c.      Court costs and reasonable attorneys’ fees.

        32.      As of the date of filing this Complaint, the United States Government

  has ceased suspending the right to bring an action under Title III, 22 U.S.C. § 6085,

  which therefore permits Plaintiff to seek the relief requested herein.

                                               REQUEST FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against the Defendant as follows:

                 A. Ordering the Defendant to pay damages (including treble damages);

                 B. Ordering the Defendant to pay pre- and post-judgment interest on

                       any amounts awarded;

                 C. Order the Defendant to pay attorneys’ fees, costs, and expenses; and

                 D. Ordering such other relief as may be just and proper.

                                            DEMAND FOR JURY TRIAL
        Plaintiff demands a jury trial on all issues so triable, and a trial pursuant to

  Rule 39(c), Federal Rules of Civil Procedure, as to all matters not triable as of right

  by a jury.




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                                                  Colson Hicks Eidson
           255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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        Dated: April 16, 2020.

                                                           Respectfully submitted,

                                                           COLSON HICKS EIDSON, P.A.
                                                           255 Alhambra Circle, Penthouse
                                                           Coral Gables, Florida 33134
                                                           Telephone: (305) 476-7400
                                                           Facsimile: (305) 476-7444
                                                           E-mail: eservice@colson.com

                                                           By: s/ Roberto Martínez______
                                                           Roberto Martínez
                                                           Florida Bar No. 305596
                                                           bob@colson.com
                                                           Stephanie A. Casey
                                                           Florida Bar No. 97483
                                                           scasey@colson.com
                                                           Aziza F. Elayan-Martínez
                                                           Florida Bar No. 92736
                                                           aziza@colson.com
                                                           Zachary Lipshultz
                                                           Florida Bar No. 123594
                                                           zach@colson.com

                                                                           - and -

                                                           MARGOL & MARGOL, P.A.
                                                           2029 3rd Street North
                                                           Jacksonville Beach, Florida 32250
                                                           Telephone: (904) 355-7508
                                                           Facsimile: (904) 619-8741

                                                           Rodney S. Margol
                                                           Florida Bar No. 225428
                                                           Rodney@margolandmargol.com

                                                  Attorneys for Plaintiff Havana Docks Corporation




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                                                 Colson Hicks Eidson
          255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

  with the Clerk of the Court. I also certify that the foregoing document is being served

  this 16th day of April, 2020, on all counsel of record or pro se parties either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                                                              By: s/ Roberto Martínez
                                                                                  Roberto Martínez




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                                                  Colson Hicks Eidson
           255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Telephone: (305) 476-7400 Fax: (305) 476-7444
